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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 18-20379-CIV-ALTONAGA/Goodman

  MATTHEW MARTINO, et al.,

         Plaintiffs,
  v.

  VOLKSWAGEN A.G. and
  VOLKSWAGEN GROUP OF
  AMERICA, INC.,

        Defendants.
  ________________________________/

                                     ORDER OF TRANSFER

         GOOD CAUSE appearing that a transfer of this case is appropriate pursuant to Internal

  Operating Procedure 2.15.00 of the United States District Court for the Southern District of

  Florida because of related Case Number 17-23033-CIV-SCOLA, and subject to the consent of

  the Honorable Robert N. Scola, it is

         ORDERED AND ADJUDGED that the above numbered case is transferred to the

  calendar of Judge Robert N. Scola for all further proceedings.

         DONE AND ORDERED in Miami, Florida, this 1st day of February, 2018.




                                                         _________________________________
                                                         CECILIA M. ALTONAGA
                                                         UNITED STATES DISTRICT JUDGE
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                                                                            Case No. 18-20379-CV

         After reviewing the file in the above numbered case, the undersigned accepts the transfer

  of this case. Therefore, it is

         ORDERED AND ADJUDGED that all pleadings filed after this date shall bear the

  following case number, 17-23033-CIV-SCOLA, indicating the Judge to whom all pleadings

  should be routed.

                                                    2nd day of February, 2018.
         DONE AND ORDERED in Miami, Florida, this _______




                                                        _________________________________
                                                        ROBERT N. SCOLA
                                                        UNITED STATES DISTRICT JUDGE

  cc:    counsel of record




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